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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


April Pasley,                                 Civil File No.: ____________________

                Plaintiff,

vs.                                                         COMPLAINT

ER Solutions, Inc., a foreign corporation,
                                                    JURY TRIAL DEMANDED
                Defendant.

                                    INTRODUCTION

1.    This action arises out of the Defendant’s violations of the Fair Debt Collection

      Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and Defendant’s Invasion of

      Plaintiff’s Privacy.

                                    JURISDICTION

2.    Jurisdiction of this Court arises under 28 U.S.C. § 1331, pursuant to 15 U.S.C. §

      1692k(d) and under 28 U.S.C. § 1367 for pendent state law claims.

3.    Venue is proper in this District because the acts and transactions occurred here,

      Plaintiff resides here, and Defendant transacts business here.

                                       PARTIES

4.    Plaintiff April Pasley (“Pasley” or “Plaintiff”) is a natural person residing in the

      County of Hennepin, State of Minnesota, and is a “consumer” as that term is

      defined by 15 U.S.C. § 1692a(3).

5.    Defendant ER Solutions, Inc., (“ER” or “Defendant”), upon information and

      belief, is a foreign corporation that operates as a debt collection agency from an
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      address of 800 SW 39th Street, Renton, Washington 98057.           ER is a “debt

      collector” as that term is defined by 15 U.S.C. § 1692a(6).

                              FACTUAL ALLEGATIONS

6.    Plaintiff allegedly incurred a financial obligation with Qwest, which is a creditor

      as that term is defined by 15 U.S.C. § 1692a(4).

7.    The alleged obligation was primarily for personal, family or household purposes,

      which is an alleged “debt” as that term is defined by 15 U.S.C § 1692a(5), namely

      a consumer debt.

8.    Plaintiff’s alleged debt was consigned, placed or otherwise transferred to

      Defendant for collection from Plaintiff sometime before December 2010.

9.    On or about December 27, 2010, Plaintiff mailed a letter to ER via certified U.S.

      mail.

10.   In the letter dated December 27, 2010, Plaintiff requested that ER cease and desist

      all collection efforts against Plaintiff.

11.   ER received the letter dated December 27, 2010 on December 31, 2010. See

      Exhibit 1.

12.   On or about January 5, 2011, Plaintiff received a telephonic message from ER in

      an attempt to collect this debt from Plaintiff.

13.   On or about January 10, 2011, Plaintiff received a telephonic message from ER in

      an attempt to collect this debt from Plaintiff.

14.   On or about January 12, 2011, Plaintiff received a telephonic message from ER in

      an attempt to collect this debt from Plaintiff.


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15.   ER violated 15 U.S.C. § 1692c(c) of the FDCPA because ER continuously

      communicated with Plaintiff in an attempt to collect this debt from Plaintiff after

      ER received a written notice from Plaintiff to cease and desist all communications

      with Plaintiff.

16.   ER violated 15 U.S.C. § 1692d of the FDCPA because ER engaged in conduct the

      likely consequence of which was to harass, oppress and abuse Plaintiff.

17.   Defendant’s conduct caused Plaintiff actual damages under the FDCPA in the

      form of emotional distress, fear, humiliation and anxiety from being harassed by

      ER.

18.   Plaintiff has incurred actual damages under the FDCPA in the form of out-of-

      pocket expenses as a result of ER’s acts and omissions.

                             Respondeat Superior Liability

19.   The acts and omissions of Defendant’s employees, who communicated with

      Plaintiff as more fully described herein, were committed within the time and space

      limits of their agency relationship with their principal, ER.

20.   The acts and omissions by Defendant’s employees were incidental to, or of the

      same general nature as, the responsibilities these agents were authorized to

      perform by ER in collecting consumer debts.

21.   By committing these acts and omissions against Plaintiff, Defendant’s employees

      were motivated to benefit their principal, ER.

22.   Defendant ER is therefore liable to Plaintiff through the Doctrine of Respondeat

      Superior for the intentional and negligent acts, errors, and omissions done in


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       violation of state and federal law by its collection employees, including but not

       limited to violations of the FDCPA in their attempts to collect this debt from

       Plaintiff.

                                     TRIAL BY JURY

23.    Plaintiff is entitled to and hereby demands a trial by jury. US Const. Amend. 7.

       Fed. R. Civ. Pro. 38.

                                 CAUSES OF ACTION

                                          COUNT I.

                        VIOLATIONS OF THE
      FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. § 1692 ET SEQ.

24.    Plaintiff incorporates by reference each and every above stated allegation as

       though fully stated herein.

25.    The foregoing acts of the Defendant constitute distinct violations of the FDCPA

       against the Plaintiff herein, including but not limited to each and every one of the

       above cited provisions of the FDCPA, 15 U.S.C § 1692 et. seq.

26.    As a result of said violations, Plaintiff has suffered actual damages in the form of

       humiliation,   anger,   anxiety,    emotional   distress,   fear,   frustration,   and

       embarrassment, amongst other negative emotions, and therefore Plaintiff is

       entitled to actual damages pursuant to 15 U.S.C. § 1692k(a)(1) of the FDCPA.

27.    As a result of said violations, Plaintiff has incurred out-of-pocket expenses, and

       therefore Plaintiff is entitled to actual damages pursuant to 15 U.S.C. §

       1692k(a)(1) of the FDCPA.



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28.   As a result of said violations, Plaintiff is entitled to statutory damages of $1,000.00

      from Defendant, and for Plaintiff’s attorney fees and costs pursuant to 15 U.S.C. §

      1692k(a)(2)(A) and 15 U.S.C. § 1692k(a)(3).

                                       COUNT II.

         INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

29.   Plaintiff incorporates by reference each and every above paragraph as though fully

      stated herein.

30.   Congress explicitly recognized a consumer’s inherent right to privacy in collection

      matters in passing the Fair Debt Collection Practices Act, when it stated as part of

      its findings:

             Abusive debt collection practices contribute to the number of personal

             bankruptcies, to marital instability, to the loss of jobs, and to invasions of

             individual privacy.

             15 U.S.C. § 1692(a) (emphasis added).

31.   Defendant intentionally and/or negligently interfered, physically or otherwise,

      with the solitude, seclusion and/or private concerns or affairs of Plaintiff.

32.   Defendant intentionally and/or negligently caused emotional harm to Plaintiff by

      engaging in highly offensive conduct in the course of collecting this debt, thereby

      invading and intruding upon Plaintiff’s right to privacy.

33.   Plaintiff had a reasonable expectation of privacy in her solitude, seclusion, and

      private concerns or affairs.




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34.     The conduct of Defendant in engaging in the above-described illegal attempts to

        collect this debt resulted in multiple intrusions and invasions of privacy by

        Defendant, which occurred in a way that would be highly offensive to a reasonable

        person in that position.

35.     As a result of such intrusions and invasions of privacy, Plaintiff is entitled to

        actual damages in an amount to be determined at trial from Defendant under the

        doctrine of Respondeat Superior liability.

                                   PRAYER FOR RELIEF

               WHEREFORE, Plaintiff respectfully prays that this Court enter the

        following judgment, in Plaintiff’s favor:

                            COUNT I: FDCPA VIOLATIONS

         For declaratory and injunctive relief;
         For an award of statutory damages of $1,000.00 for the Plaintiff herein, for
          violations of the FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A), against
          Defendant;
         For an award of costs and reasonable attorneys’ fees under the FDCPA
          pursuant to 15 U.S.C. § 1692k(a)(3), against Defendant, for Plaintiff herein;
         For an award of actual damages, costs and reasonable attorney fees pursuant to
          15 U.S.C. §1692k(a)(1) against Defendant herein in an amount to be determined
          at trial;

      COUNT II: INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

         For an award of actual and compensatory damages from Defendant for the
          emotional distress suffered as a result of the intentional and/or negligent FDCPA
          violations and intentional and/or negligent invasions of privacy in a reasonable
          amount in excess of $50,000.00; and
         For such other and further relief as may be just and proper.




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Dated: May 19, 2011.               MARSO AND MICHELSON, P.A.



                             By:   s/Patrick L. Hayes
                                   Patrick L. Hayes (0389869)
                                   William C. Michelson (129823)
                                   Attorneys for Plaintiff
                                   3101 Irving Avenue South
                                   Minneapolis, Minnesota 55408
                                   Telephone: 612-821-4817
                                   phayes@marsomichelson.com
                                   bmichelson@marsomichelson.com




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